USCA4 Appeal: 07-4115   Doc: 120     Filed: 10/16/2008   Pg: 1 of 2


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                            1100 East Main Street, Suite 501
                             Richmond, Virginia 23219-3517
                                  www.ca4.uscourts.gov

                                   October 16, 2008

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USCA4 Appeal: 07-4115   Doc: 120   Filed: 10/16/2008   Pg: 2 of 2


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        No. 07-4115, US v. LaVon Dobie
                     8:04-cr-00235-RWT

        Dear Counsel and Tracy Dunlap,

             The deadline for filing all transcripts ordered from Tracy
        Dunlap has been updated to 11/10/08.


                                         Sincerely,

                                         Sharon A. Wiley
                                         Deputy Clerk
